                              Case 19-10165-BLS                     Doc 1        Filed 01/30/19            Page 1 of 19
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  Delaware
 ____________________ District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                         Consolidated Infrastructure Group, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              8 ___
                                           ___ 1 – ___
                                                     2 ___
                                                        4 ___
                                                           9 ___
                                                              6 ___
                                                                 8 7___ 0
                                                                        ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            11620      Arbor Street
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 101
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Omaha                      NE        68144
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Douglas
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.ciglocating.com
                                           ____________________________________________________________________________________________________


                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor          Consolidated Infrastructure Group, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         ✔ None of the above
                                         

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2 ___
                                            ___  3 ___
                                                    7 ___
                                                       1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           ✔ No
                                         
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor        Consolidated Infrastructure Group, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       ✔ No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  ✔ Funds will be available for distribution to unsecured creditors.
                                       
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                       ✔ 200-999
                                       

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               ✔ $10,000,001-$50 million
                                                                                                                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                   WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                     CONSOLIDATED INFRASTRUCTURE GROUP, INC.
                               IN LIEU OF A MEETING

                                         January 29, 2019

        Effective as of the date hereof, the undersigned, being the all of the members of the board

of directors (the “Board”) of CONSOLIDATED INFRASTRUCTURE GROUP, INC. (the

“Company”), do hereby consent to the following actions and adopt the following resolutions by

written consent in lieu of a meeting as if such resolutions had been adopted at a duly convened

meeting of the Board of the Company:


Chapter 11 Filing

        WHEREAS, the Board considered submissions by the management and the legal
        advisors of the Company regarding the liabilities and liquidity situation of the
        Company, the strategic alternatives available to it, and the effect of the foregoing
        on the Company’s business; and

        WHEREAS, the Board has had the opportunity to consult with the management
        and the legal advisors of the Company and to fully consider strategic alternatives
        available to the Company.

        NOW, THEREFORE, THE BOARD CONSENTS TO THE COMPANY’S
        ADOPTION OF THE FOLLOWING ACTIONS AND RESOLUTIONS:

        RESOLVED, that in the judgment of the Board, it is desirable and in the best
        interests of the Company, its creditors, and other parties in interest, that the
        Company shall be and hereby is authorized to file or cause to be filed a voluntary
        petition for relief under the provisions of chapter 11 of title 11 of the United
        States Code (the “Bankruptcy Code”) in a court of proper jurisdiction; and it is
        further

        RESOLVED, that any officer of the Company (collectively, the “Authorized
        Officers”) acting alone or with one or more Authorized Officers be, and they
        hereby are, authorized, empowered and directed to execute and file on behalf of
        the Company all petitions, schedules, lists and other motions, papers or
        documents, and to take any and all action that they deem necessary or proper to
        obtain such relief, including, without limitation, any action necessary to maintain
        the ordinary course operation of the Company’s business; and it is further




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       RESOLVED, that each of the Authorized Officers be, and they hereby are,
       authorized, empowered, and directed to certify the authenticity of this Written
       Consent; and it is further

       RESOLVED, that each of the Authorized Officers be, and they hereby are,
       authorized, directed, and empowered in the name of, and on behalf of, the
       Company to execute and deliver any documents or to do such other things which
       shall in their sole judgment be necessary, desirable, proper or advisable to give
       effect to the foregoing resolutions, which determination shall be conclusively
       evidenced by their execution thereof.

Retention of Professionals

       IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and
       they hereby are, authorized and directed to employ the law firm of RICHARDS
       LAYTON & FINGER, P.A. as general bankruptcy counsel to represent and assist
       the Company in carrying out its duties under the Bankruptcy Code, and to take
       any and all actions to advance the Company’s rights and obligations, including
       filing any pleadings, and in connection therewith, each of the Authorized
       Officers, with power of delegation, are hereby authorized and directed to execute
       appropriate retention agreements, pay appropriate retainers, and to cause to be
       filed an appropriate application for authority to retain the services of RICHARDS
       LAYTON & FINGER, P.A.; and it is further

       RESOLVED, that each of the Authorized Officers be, and they hereby are,
       authorized and directed to employ the firm of GAVIN/SOLMONESE LLC as
       financial advisor and investment banker to represent and assist the Company in
       carrying out its duties under the Bankruptcy Code, and to take any and all actions
       to advance the Company’s rights and obligations; and in connection therewith,
       each of the Authorized Officers, with power of delegation, are hereby authorized
       and directed to execute appropriate retention agreements, pay appropriate
       retainers, and to cause to be filed an appropriate application for authority to retain
       the services of GAVIN/SOLMONESE LLC; and it is further

       RESOLVED, that each of the Authorized Officers be, and they hereby are,
       authorized and directed to employ any other professionals to assist the Company
       in carrying out its duties under the Bankruptcy Code; and in connection
       therewith, each of the Authorized Officers, with power of delegation, are hereby
       authorized and directed to execute appropriate retention agreements, pay
       appropriate retainers, and to cause to be filed an appropriate application for
       authority to retain the services of any other professionals as necessary; and it is
       further

       RESOLVED, that each of the Authorized Officers be, and they hereby are, with
       power of delegation, authorized, empowered and directed to executed and file all
       petitions, schedules, motions, lists, applications, pleadings, and other papers and,
       in connection therewith, to employ and retain all assistance by legal counsel,


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       accountants, financial advisors, and other professionals and to take and perform
       any and all further acts and deeds that each of the Authorized Officers deem
       necessary, proper, or desirable in connection with the Company’s chapter 11 case,
       with a view to the successful prosecution of such case.

Debtor-in-Possession Financing

       IT IS FURTHER RESOLVED, that the Company shall be, and hereby is,
       authorized by the Board to: (a) undertake any and all transactions contemplated
       by the Consolidated Infrastructure Group, Inc. $3 Million Senior Secured Debtor-
       in-Possession Term Loan Facility Summary of Terms and Conditions (the “DIP
       Term Sheet”) by and among the Company, as borrower, and Parallel49 Equity
       (Fund V), Limited Partnership, a Delaware limited partnership; and Parallel49
       Equity (Fund V) BC, Limited Partnership, a British Columbia limited partnership,
       as lenders, (the “DIP Lenders”) on substantially the terms and subject to the
       conditions described to the Board and as set forth in the DIP Term Sheet or as
       may hereafter be fixed or authorized by each of the Authorized Officers (and their
       designees and delegates), acting alone or with one or more other Authorized
       Officers; (b) borrow funds from and undertake any and all related transactions
       contemplated by the DIP Term Sheet with the DIP Lenders and on such terms as
       may be approved by any one or more of the Authorized Officers, as reasonably
       necessary for the continuing conduct of the affairs of the Company; and (c) grant
       security interests in and liens upon some, any or all of the Company’s assets, as
       may be deemed necessary by any one or more of the Authorized Officers in
       connection with the transactions contemplated by the DIP Term Sheet; and it is
       further

       RESOLVED, that each of the Authorized Officers (and their designees and
       delegates) acting alone or with one or more other Authorized Officers be, and
       they hereby are, authorized, directed, and empowered in the name of, and on
       behalf of, the Company, as debtor and debtor-in-possession, to take such actions
       and negotiation or cause to be prepared and negotiated and to execute, file,
       deliver and cause the Company to incur and perform its obligations under the DIP
       Term Sheet, and all other agreements, instruments and documents (including,
       without limitation, any and all joinders, mortgages, deeds of trust, consents,
       notes, pledge agreements, security agreements, control agreements, interest rate
       swaps, caps, collars or similar hedging agreements and any agreements with any
       entities (including governmental authorities) requiring or receiving letters of
       credit or other credit support with proceeds from the facility contemplated by the
       DIP Term Sheet) or any amendments thereto or waivers thereunder (including,
       without limitation, any amendments, waivers or other modifications of any of the
       loan documents including or ancillary to the DIP Term Sheet) that may be
       contemplated by or required in connection with the DIP Term Sheet, incur and
       pay or cause to be paid all fees and expenses and engage such persons, in each
       case, as such Authorized Officer shall in his or her judgement determine to be
       necessary or appropriate to consummate the transactions contemplated by the DIP



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       Term Sheet, which determination shall be conclusively evidenced by his or her
       execution and delivery thereof; and it is further

       RESOLVED, that the form, terms and provisions of the DIP Term Sheet to
       which the Company is a party be, and the same hereby are in all respects
       approved, and that any Authorized Officers or other officers of the Company are
       hereby authorized and empowered, in the name of and on behalf of the Company,
       to execute and deliver and execute and file the DIP Term Sheet to which the
       Company is a party, in the form or substantially in the form of the DIP Term
       Sheet submitted to the Board, with such changes, additions and modifications
       thereto as the officers of the Company executing the same shall approve, such
       approval to be conclusively evidenced by such officer’s execution and delivery
       thereof; and it is further

       RESOLVED, that each of the Authorized Officers be, and hereby are, authorized
       and empowered, in consultation with the Board, to execute and deliver any
       amendments,       supplements,     modifications,       renewals,    replacements,
       consolidations, substitutions and extensions of the DIP Term Sheet, and to
       execute and file on behalf of the Company all petitions, schedules, lists and other
       motions, papers or documents, which shall in his or her sole judgment be
       necessary, proper or advisable, which determination shall be conclusively
       evidenced by his or her execution thereof; and it is further

       RESOLVED, that the Company will obtain benefits from the incurrence of the
       loans and letters of credit contemplated by the DIP Term Sheet, which are
       necessary and appropriate to the conduct, promotion and attainment of the
       business of the Company.

Sale of Assets or Substantially All Assets

       IT IS FURTHER RESOLVED, that, it is desirable and in the best interest of the
       Company to sell substantially all of their assets pursuant to section 363 of the
       Bankruptcy Code, and therefore, the Company is hereby authorized to commence
       one or more processes to effectuate a sale of individual assets of the Company or
       all or substantially all of the Company’s assets and the Company is further
       authorized to file a motion to approve such process and sale and for any related
       relief.

General Authorizations

       IT IS FURTHER RESOLVED, that in addition to the specific authorizations
       heretofore conferred upon the Authorized Officers, each of the Authorized
       Officers (and their designees and delegates) be, and they hereby are, authorized
       and empowered, in the name of and on behalf of the Company, to take or cause to
       be taken any and all such other and further action, and to execute, acknowledge,
       deliver and file any and all such agreements, certificates, instruments and other
       documents and to pay all expenses, including but not limited to filing fees, in each


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       case as in such officer’s or officers’ judgment, shall be necessary, advisable or
       desirable in order to fully carry out the intent and accomplish the purposes of the
       resolutions approved in this Written Consent; and it is further

       RESOLVED, that the Board has received sufficient notice of the actions and
       transactions relating to the matters contemplated by the foregoing resolutions, as
       may be required by the Bylaws or applicable law, or hereby waives any right to
       receive such notice thereunder; and it is further

       RESOLVED, that all acts, actions and transactions relating to the matters
       contemplated by the foregoing resolutions done in the name of and on behalf of
       the Company, which acts would have been approved by the foregoing resolutions
       except that such acts were taken before the adoption of these resolutions, are
       hereby in all respects approved and ratified as the true acts and deeds of the
       Company with the same force and effect as if such act, action, transaction,
       agreement or certificate has been specifically authorized in advance by resolution
       of the Board; and it is further

       RESOLVED, that each of the Authorized Officers (and their designees and
       delegates) be and hereby are authorized and empowered to take all actions or to
       not take any action in the name of the Company with respect to the transactions
       contemplated by this Written Consent as such Authorized Officer shall deem
       necessary or desirable in such Authorized Officer’s reasonable business judgment
       as may be necessary or appropriate to effectuate the purposes of the transactions
       contemplated herein.

       This Written Consent may be executed by facsimile, telecopy or other electronic means

or reproduction, and such execution shall be considered valid, binding and effective for all

purposes. The actions taken by this Written Consent shall have the same force and effect as if

taken by the undersigned at a meeting of the parties hereto, duly called and constituted pursuant

to the laws of the State of Delaware. This Written Consent may be executed simultaneously in

multiple counterparts, each of which shall be deemed an original but all of which together shall

constitute one and the same instrument.




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       Fill in this information to identify the case:

       Debtor name Consolidated Infrastructure Group, Inc.

       United States Bankruptcy Court for the: District of Delaware
                                                           (State)                                                      Check if this is
                                                                                                                        an amended
       Case number (if known):
                                                                                                                        filing




     Official Form 204

     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
     Unsecured Claims and Are Not Insiders                                                                                         12/15
     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
     which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
     101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
     value places the creditor among the holders of the 20 largest unsecured claims.


                                                                          Nature of                                Amount of unsecured claim
                                                                          the claim                          If the claim is fully unsecured, fill in only
                                                                             (for                               unsecured claim amount. If claim is
                                                                          example,         Indicate if      partially secured, fill in total claim amount
      Name of creditor and             Name, telephone number,          trade debts,        claim is          and deduction for value of collateral or
    complete mailing address,            and email address of           bank loans,       contingent,           setoff to calculate unsecured claim.
       including zip code                  creditor contact             professional     unliquidated,                    Deduction
                                                                                                            Total
                                                                           services,      or disputed                      for value
                                                                             and                           claim, if                        Unsecured
                                                                                                                               of
                                                                        government                         partially                          claim
                                                                                                                          collateral
                                                                          contracts)                       secured
                                                                                                                           or setoff
1      USIC LLC                                                                          Contingent,
       9045 NORTH RIVER                                                                  unliquidated,
                                     JIM O’MALLEY                         Litigation
       RD., SUITE 300                                                                    and disputed                                        Unknown
                                     317-575-7800                           claim
       INDIANAPOLIS, IN
       46240
2      BLUE CROSS BLUE                                                                   Unliquidated
       SHIELD NEBRASKA
       17445 ARBOR STREET            NATE BERGER
                                                                          Insurance                                                          Unknown
       SUITE 300                     402-330-8700
       OMAHA, NE 68180

3      AT&T                                                                              Contingent,
       420 S. GRAND AVE.                                                                 unliquidated,
                                     MARSHALL JOHNSON                     Damages
       RM 1500                                                                           and disputed                                        Unknown
                                     213-633-3122                          claim
       LOS ANGELES, CA
       90071
4      COMCAST CABLE                                                                     Contingent,
       COMMUNICATIONS                                                                    unliquidated,
       MANAGEMENT LLC                ANTHONY JELNIKER                     Damages        and disputed
                                                                                                                                             Unknown
       183 INVERNESS DRIVE           720-413-0041                          claim
       WEST ENGLEWOOD,
       CO 80112



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                                                             Nature of                           Amount of unsecured claim
                                                             the claim                     If the claim is fully unsecured, fill in only
                                                                (for                          unsecured claim amount. If claim is
                                                             example,       Indicate if   partially secured, fill in total claim amount
      Name of creditor and       Name, telephone number,   trade debts,      claim is       and deduction for value of collateral or
    complete mailing address,      and email address of    bank loans,     contingent,        setoff to calculate unsecured claim.
       including zip code            creditor contact      professional   unliquidated,                 Deduction
                                                                                           Total
                                                              services,    or disputed                   for value
                                                                and                       claim, if                       Unsecured
                                                                                                             of
                                                           government                     partially                         claim
                                                                                                        collateral
                                                             contracts)                   secured
                                                                                                         or setoff
5      AUTOMOTIVE
       RENTALS, INC.
                                PAM CAREY
       4001 LEADENHALL                                         Trade
                                856-722-8608                                              $1,230,000                      $1,473,755.36
       ROAD, PO BOX 5039                                      Payable
       MT. LAUREL, NJ 08054

6      AFS IBEX FINANCIAL
       SERVICES, INC.
       1301 DOVE STREET         BILLY BARNES                 Insurance                                                    $1,213,921.65
       SUITE 100,               800-347-4986                 Premium
       NEWPORT BEACH, CA                                     Financing
       92660

7      OGLETREE, DEAKINS,                                                 Contingent,
       NASH, SMOAK &                                                      unliquidated,
       STEWART, P.C.            JOHN DICKMAN                              and disputed
                                                                                                                          $947,449.52
       155 NORTH WACKER         312-558-1255                 Litigation
       DRIVE, SUITE 4300
       CHICAGO, IL 60606

8      DATA INTEGRATION,
       INC.
       1050 PARKWAY             CHRIS RICHARDSON
                                                               Trade                                                      $116,219.50
       INDUSTRIAL PARK          770-614-2115
                                                              Payable
       DRIVE, SUITE 100
       BUFORD, GA 30518

9      CALAMP WIRELESS
       NETWORKS
                                THUY LE
       CORPORATION                                             Trade                                                       $63,429.35
                                805-987-9000
       1401 N RICE AVENUE                                     Payable
       OXNARD, CA 93030

10     BARNES &
       THORNBURG LLP
       11 SOUTH MERIDIAN        JOHN R. MALEY
                                                               Legal                                                       $45,761.89
       STREET                   317-236-1313
                                                              Services
       INDIANAPOLIS, IN
       46204

11     CRAWFORD
       &WINIARSKI
                                RODNEY CRAWFORD
       535 GRISWOLD                                            Legal                                                       $37,945.15
                                313-965-9700
       SUITE 1500                                             Services
       DETROIT, MI 48226

12     FTI CONSULTING, INC.
       PO BOX 418005            BRYAN LEE                    Consulting                                                    $35,178.82
       BOSTON, MA 02241         312-428-2635                  Services
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                                                         Nature of                           Amount of unsecured claim
                                                         the claim                     If the claim is fully unsecured, fill in only
                                                            (for                          unsecured claim amount. If claim is
                                                         example,       Indicate if   partially secured, fill in total claim amount
   Name of creditor and      Name, telephone number,   trade debts,      claim is       and deduction for value of collateral or
 complete mailing address,     and email address of    bank loans,     contingent,        setoff to calculate unsecured claim.
    including zip code           creditor contact      professional   unliquidated,                 Deduction
                                                                                       Total
                                                          services,    or disputed                   for value
                                                            and                       claim, if                       Unsecured
                                                                                                         of
                                                       government                     partially                         claim
                                                                                                    collateral
                                                         contracts)                   secured
                                                                                                     or setoff
13   PILLSBURY
     WINTHROP SHAW
     PITTMAN
                             PETER GILLON
     1200 SEVENTEENTH                                     Legal                                                        $24,108.00
                             202-663-8000
     STREET, NW                                          Services
     WASHINGTON, DC
     20036

14   CR3 PARTNERS
     13355 NOEL ROAD,        TOM O'DONOGHUE
                                                         Advisory                                                      $11,274.00
     SUITE 310               847-778-3965
                                                         Services
     DALLAS, TX 75240

15   KUTAK ROCK LLP
                             MICHAEL DEGAN
     1650 FARNAM STREET                                   Legal                                                        $10,744.84
                             402-346-6000
     OMAHA, NE 68102                                     Services

16   WATER'S FAMILY
     INVESTMENTS, LLC
                             AIMEE MAXWELL
     137 ASPEN SQUARE                                     Trade                                                        $10,632.21
                             225-769-2698
     DENHAM SPRINGS, LA                                  Payable
     70726

17   CANDLEWOOD
     SUITES DENHAM
     SPRING                  KAWANDA COLLIGAN
                                                          Trade                                                        $7,402.37
     246 RUSHING ROAD        225-271-0300
                                                         Payable
     WEST DENHAM
     SPRINGS, LA 70726

18   CPG OXMOOR, LLC
     4100 CARMEL ROAD,       KIMBERLY ROTHWELL
                                                          Trade                                                        $6,620.88
     B-156                   704-724-3222
                                                         Payable
     CHARLOTTE, NC 28226

19   HEMPHILL SEARCH
     GROUP, INC.
                             JEFF KOVAR
     1010 SOUTH 120TH                                     Trade                                                        $6,320.00
                             402-334-4841
     STREET, SUITE 310                                   Payable
     OMAHA, NE 68154

20   EQUITY RISK
     PARTNERS
     456 MONTGOMERY          LINCY KACZKA
                                                                                                                       $5,817.00
     STREET, SUITE 1200      415-874-7168                Insurance
     SAN FRANCISCO, CA
     94104
                     Case 19-10165-BLS                     Doc 1         Filed 01/30/19             Page 15 of 19



 Fill in this information to identify the case and this filing:


 Debtor Name     Consolidated Infrastructure Group, Inc.
 United States Bankruptcy Court for the: District of Delaware
                                                      (State)

 Case number (If known):


 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors
            12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
 submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
 the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
 debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
 by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
 U.S.C. §§ 152, 1341, 1519, and 3571.


                   Declaration and signature

               I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
               partnership; or another individual serving as a representative of the debtor in this case.

               I have examined the information in the documents checked below and I have a reasonable belief that the information is true
               and correct:

               ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


               ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


               ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


               ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


               ☐           Schedule H: Codebtors (Official Form


               ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


               ☐           Amended Schedule


               ☒           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                           (Official Form 204)


               ☐          Other document that requires a declaration

 I declare under penalty of perjury that the foregoing is true and correct.
 Executed on 1/29/2019                              /s/ Michael G. Johnson
            MM / DD / YYYY                          Signature of individual signing on behalf of debtor

                                                    Michael G. Johnson
                                                    Printed name
                                                    President
                                                    Position or relationship to debtor




EAST\164312641.4
               Case 19-10165-BLS      Doc 1    Filed 01/30/19    Page 16 of 19


                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
         CONSOLIDATED INFRASTRUCTURE : Case No. 19-_____ (___)
         GROUP, INC.,                                          :
                                                               :
                           Debtor.                             :
---------------------------------------------------------------x
               CORPORATE OWNERSHIP STATEMENT (RULE 1007(a)(1))

       Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, Consolidated

Infrastructure Group, Inc. hereby certifies that Consolidated Infrastructure Group Holdings, LP

owns 100% of the common stock of Consolidated Infrastructure Group, Inc.




EAST\164312641.4
                          Case 19-10165-BLS                              Doc 1          Filed 01/30/19             Page 17 of 19



Fill in this information to identify the case and this filing:



Debtor Name    Consolidated Infrastructure Group, Inc.
United States Bankruptcy Court for the:                          District of Delaware
                                                                        (State)

Case number (If known):




Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                               12/15
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the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
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U.S.C. §§ 152, 1341, 1519, and 3571.


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                  partnership; or another individual serving as a representative of the debtor in this case.

                  I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                  and correct:


                  ☐               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                  ☐               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                  ☐               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                  ☐               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                  ☐               Schedule H: Codebtors (Official Form 206H)


                  ☐               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                  ☐               Amended Schedule


                  ☐               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                  ☒              Other document that requires a declaration Statement of Corporate Ownership

I declare under penalty of perjury that the foregoing is true and correct.

                                                                                        /s/ Michael G. Johnson
Executed on 1/29/2019                                                                   Signature of individual signing on behalf of debtor
            MM / DD / YYYY                                                              Michael G. Johnson
                                                                                        Printed name
                                                                                        President
                                                                                        Position or relationship to debtor
               Case 19-10165-BLS            Doc 1       Filed 01/30/19      Page 18 of 19



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
         CONSOLIDATED INFRASTRUCTURE : Case No. 19-_____ (___)
         GROUP, INC.,                                          :
                                                               :
                           Debtor.                             :
---------------------------------------------------------------x
                  LIST OF EQUITY SECURITY HOLDERS (RULE 1007(a)(3))

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), Consolidated Infrastructure

Group, Inc., as the above-captioned debtor and debtor in possession, hereby provides the following

list of holders of equity interests:



       Name and Address of Interest Holder                    Percentage of Interests Held
      Consolidated Infrastructure Group Holdings, LP
      One Westminster Place, Suite 100                  100% of Consolidated Infrastructure Group, Inc.
      Lake Forest, IL 60045
      CIG GP, LLC
      One Westminster Place, Suite 100                  100% of Consolidated Infrastructure Holdings LP
      Lake Forest, IL 60045
      Parallel49 Equity (Fund V), Limited Partnership
                                                                     72% of CIG GP, LLC
      Parallel49 Equity (Fund V) BC, Limited
      Partnership                                                    21%of CIG GP, LLC
                          Case 19-10165-BLS                               Doc 1         Filed 01/30/19             Page 19 of 19



Fill in this information to identify the case and this filing:



Debtor Name     Consolidated Infrastructure Group, Inc.
United States Bankruptcy Court for the:                          District of Delaware
                                                                        (State)

Case number (If known):




Official Form 202

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U.S.C. §§ 152, 1341, 1519, and 3571.


                      Declaration and signature

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                  partnership; or another individual serving as a representative of the debtor in this case.

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                  and correct:


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                  ☐               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                  ☐               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                  ☐               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                  ☐               Schedule H: Codebtors (Official Form 206H)


                  ☐               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                  ☐               Amended Schedule


                  ☐               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                  ☒              Other document that requires a declaration List of Equity Security Holders

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 1/29/2019                                            /s/ Michael G. Johnson
            MM / DD / YYYY                                       Signature of individual signing on behalf of debtor

                                                                 Michael G. Johnson
                                                                 Printed name
                                                                 President
                                                                 Position or relationship to debtor
